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                                                                             USDC SDNY
UNITED STATES DISTRICT COURT                                                 DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                                ELECTRONICALLY FILED
                                                                             DOC #:
 JAMAHL BRACEY,                                                              DATE FILED: 1/27/2021

                            Plaintiff,
                                                                1:20-cv-06768-MKV
                     -against-
                                                                       ORDER
 CITY OF NEW YORK ET AL.,

                            Defendant.

MARY KAY VYSKOCIL, United States District Judge:

       On January 21, 2021, Plaintiff filed a letter responding to the Court’s Order dated

December 9, 2020, and expressing a desire to file an amended complaint. [ECF No. 7.] On

January 22, 2021, Defendant filed a letter requesting, inter alia, that the briefing schedule for

Defendants’ anticipated Motion to Dismiss be held in abeyance pending the Court’s ruling on

Plaintiff’s letter. [ECF No. 10.]

       IT IS HEREBY ORDERED that insofar as leave is required for Plaintiff to file an amended

complaint, such leave is GRANTED. Plaintiff shall file the Amended Complaint on or before

February 4, 2021. If they wish to move to dismiss the Amended Complaint, Defendants should

submit a pre-motion letter, as required by the Court’s Individual Rules of Practice ¶ 4.A.i.

       IT IS FURTHER ORDERED that the briefing schedule for Defendants’ anticipated Motion

to Dismiss [see ECF Nos. 4, 6] is VACATED.

       Any request for an extension or adjournment shall be made by letter filed on ECF at least

48 hours before the deadline.

SO ORDERED.

                                                     __________________________________
Dated: January 27, 2021                              MARY KAY VYSKOCIL
       New York, NY                                  United States District Judge
